                           DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for want of prosecution.
A trial was scheduled to begin at 9:00 a.m. on October 14, 2009, to consider Plaintiff's appeal. The court sent notice of the scheduled trial to Plaintiff in a notice dated July 13, 2009. The notice was sent to Plaintiff at 140 S.E. 32nd Avenue, Portland, OR 97214, which is the address Plaintiff provided to the court. The notice was not returned as undeliverable.
A case may be dismissed when the participant seeking relief fails to appear. For purposes of a telephone proceeding, a participant "appears" by being available at the telephone number provided to the court by that participant on the date and at the time prescribed. Because Plaintiff failed to appear for the scheduled proceeding, the court finds the case should be dismissed. Now, therefore, *Page 2 
IT IS THE DECISION OF THIS COURT that the Complaint is dismissed.
Dated this ___day of October 2009.
If you want to appeal this Decision, file a Complaint in the RegularDivision of the Oregon Tax Court, by mailing to: 1163 State Street,Salem, OR 97301-2563; or by hand delivery to: Fourth Floor, 1241 StateStreet, Salem, OR.
 Your Complaint must be submitted within 60 days after the date of theDecision or this Decision becomes final and cannot be changed.
 This document was signed by Presiding Magistrate Jill A. Tanner onOctober 16, 2009. The Court filed and entered this document on October16, 2009. *Page 1 